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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

 J.M. DAVIDSON, LTD.                               §
                                                   §             CIVIL ACTION NO. 2:21-cv-272
       Plaintiff,                                  §
                                                   §
 V.                                                §                 Admiralty Fed. R. Civ. P. 9(h)
                                                   §
 DREDGE BECCA SUE, its engines,                    §
 tackle, appurtenances, etc., in rem, and          §
 DREDGE LADY DIANA, its engines,                   §
 tackle, appurtenances, etc., in rem               §
                                                   §
       Defendant.                                  §

                                    JOINT STATUS REPORT

        Plaintiff, J.M. Davidson, Ltd., the Defendant vessels, Dredges BECCA SUE and LADY

DIANA, and the owner of the Defendant vessels, Dredgit Corporation, making a limited

appearance under Rule E(8), (the “Parties”) submit this their Joint Status Report as directed by the

Magistrate Judge and would respectfully show as follows:

        This federal civil action is currently stayed pending a final decision from an arbitration

panel selected by the Parties. (D.E. 24). The Parties commenced arbitration and have selected a

panel of three arbitrators. The arbitration panel has issued a Scheduling Order. See Exhibit “A”.

The Parties recently filed their respective statements of claims and defenses within the arbitration

pursuant to the Scheduling Order. Id. A final hearing in the arbitration has been scheduled for

April 17 – 28, 2023. Id.

        The Parties ask that the Court not lift the stay of this civil action pending a Motion from

Counsel or a final decision from the arbitration panel. The Parties ask that the Court retain

jurisdiction pending the completion of arbitration for the purpose of resolving any disputes as to

the scope of the arbitral issues, retaining jurisdiction of the substitute res acting as security, and to



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enforce any award rendered by the arbitrators, including any award or interest in the security. See

generally, Psara Energy, Ltd., v. Advantage Aarow Shipping, L.L.C., 946 F.3d 803 (5th Cir. 2020)

(“the entry of a stay, as opposed to a dismissal, indicates that the district court perceives that it

might have more to do than execute the judgment once arbitration has completed.”).

                                              Respectfully submitted,

                                              /s/ Jack C. Partridge
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                                              ATTORNEY FOR PLAINTIFF,
                                              J.M. DAVIDSON, LTD.

OF COUNSEL:

ROYSTON, RAYZOR, VICKERY & WILLIAMS, L.L.P.


                                              /s/ Dabney W. Pettus
                                              Dabney Welsh Pettus, Attorney in Charge
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                                              ATTORNEY FOR DEFENDANTS, DREDGE
                                              BECCA SUE, its engines, tackle, appurtenances,
                                              etc., in rem, DREDGE LADY DIANA, its
                                              engines, tackle, appurtenances, etc., in rem, and
                                              DREDGIT CORPORATION, as
                                              Claimant/Owner of DREDGE BECCA SUE and
                                              DREDGE LADY DIANA

OF COUNSEL:

WELDER LESHIN LLP

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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on August 18, 2022, in accordance with the Federal
Rules of Civil Procedure, the foregoing was served to the following counsel by the means
indicated.

VIA ECF SYSTEM:
Dabney Welsh Pettus
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                                             /s/ Jack C. Partridge
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